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                                                             8                                    UNITED STATES DISTRICT COURT
                                                             9                                          DISTRICT OF NEVADA

                                                            10    BANK OF AMERICA, N.A.,
                                                                                                                         Case No.: 3:16-cv-00146-MMD-WGC
                                                            11
                                                                                     Plaintiff,
              1635 VILLAGE CENTER CIRCLE, SUITE 200




                                                                  v.
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                                                            12
                                                                                                                         JOINT STATUS REPORT PURSUANT TO
                      LAS VEGAS, NEVADA 89134




                                                            13    GRAND SIERRA RESORT UNIT-OWNERS                        COURT'S JANUARY 11, 2018 ORDER
AKERMAN LLP




                                                                  ASSOCIATION; MEI-GSR HOLDINGS,                         [ECF NO. 61]
                                                            14    LLC; AM-GSR HOLDINGS, LLC; ALESSI
                                                            15    & KOENIG, LLC,

                                                            16                       Defendants.

                                                            17           Plaintiff Bank of America, N.A. (BANA) and defendants Grand Sierra Resort Unit-Owners
                                                            18   Association, MEI-GSR Holdings, LLC, AM-GSR Holdings, LLC and Alessi & Koenig, LLC submit
                                                            19   the following status report pursuant to the court's order entered January 11, 2018, ECF No. 61:
                                                            20           1.      On January 11, 2018, this court stayed this case pending the Nevada Supreme Court
                                                            21   resolving the certified question in SFR Invs. Pool 1, LLC v. The Bank of New York Mellon f/k/a the
                                                            22   Bank of New York as Trustee for the Certificateholders of the CWABS, Inc., Asset-Backed Certificates,
                                                            23   Series 2006-6, Case No. 72931. (ECF No. 61.) The court directed the parties to file a status report
                                                            24   within five days of the Nevada Supreme Court answering the certified question. (Id.) The court further
                                                            25   denied BANA's motion for partial summary judgment without prejudice, instructing BANA it could
                                                            26   refile within thirty (30) days from the date the stay in this case is lifted. (Id.)
                                                            27           2.      The Nevada Supreme Court answered the certified question on August 2, 2018.
                                                            28   ///
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                                                             1          3.     Discovery remained open at the time the court stayed the case on January 11, 2018.

                                                             2   (ECF No. 60.) The parties now request the court set a (1) December 3, 2018 discovery cut-off and

                                                             3   (2) January 3, 2018 dispositive motions deadline. The parties request these deadlines because BANA

                                                             4   intends to supplement its Rule 26 disclosures to disclose additional witnesses and documents it

                                                             5   believes the Nevada Supreme Court made relevant in answering the certified question, which it intends

                                                             6   to use to support and amend its summary judgment motion or oppose any dispositive motion any other

                                                             7   parties file. Extending the discovery cut-off and dispositive motions deadline will allow defendants

                                                             8   time to conduct any additional discovery they believe BANA's supplemental disclosures necessitate.
                                                             9
                                                                  This the 7th day of August, 2018.                 This the 7th day of August, 2018.
                                                            10
                                                                  AKERMAN LLP                                       COHEN JOHNSON PARKER EDWARDS
                                                            11
                                                                   /s/ Vatana Lay                                    /s/ H. Stan Johnson
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                                                            12    Ariel E. Stern, Esq.                              H. Stan Johnson, Esq.
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                                                            15                                                      LLC and AM-GSR Holdings, LLC
                                                                  Attorneys for plaintiff Bank of America, N.A.
                                                            16

                                                            17
                                                                  This the 7th day of August, 2018.
                                                            18
                                                                 HOA LAWYERS GROUP, LLC
                                                            19
                                                                   /s/ Steven T. Loizzi, Jr.
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